
PER CURIAM.
The fundamental issue in this interlocutory appeal is whether the denial of summary judgment based on qualified immunity for the defendant police officers was correctly decided by the district *421court.1 We hold that it was, but for reasons which differ from the district court’s analysis. ■
Talena Terrell was killed when Anoka County Deputy Sheriffs Brek Larson and Shawn Longen, who decided to respond to a domestic disturbance call even though they had been told other officers were covering the call, drove through a red light and collided with the vehicle driven by Terrell. Terrell’s heirs and next of kin filed this § 1983 substantive due process action against Larson, Longen, and other defendants not involved in this appeal. Our review of the district court’s ruling on qualified immunity is limited to whether the Plaintiffs have alleged a constitutional violation and whether the right violated was clearly established at the time of the conduct. See Wilson v. Lawrence County, 260 F.3d 946, 951 (8th Cir.2001). We affirm in part and reverse in part.
I. BACKGROUND
At 10:03 p.m. on December 29, 2000, the Anoka County 911 service received a call to the effect that the caller’s wife had locked herself and their three-year-old son in a bedroom and was threatening to run off with the child. The caller stated that the situation was not an emergency, but he was concerned about his son’s well-being. At 10:05 p.m., the dispatcher made the following transmission:
20[ — ] Jewel Street. [Complainant’s] wife, 23-year-old female, is at the location threatening to harm their three year old child. She’s currently locked herself in the bedroom, no weapons. She was unaware that the complainant has called.
The call was assigned a level three priority, which meant it was in the “urgent” category.
At the time of the transmission, Deputies Larson and Longen were doing paperwork and eating dinner at a police substation. Deputy Longen was a probationary officer at the time and was “riding along” with Deputy Larson because his field training officer was off duty. Because Jewel Street was within their assigned backup area, Larson and Longen immediately prepared to respond to the call. Larson radioed to dispatch that he would provide backup to the primary responders. One minute later, before Larson and Lon-gen had left the substation, another deputy radioed that Larson could “cancel” because he was responding as the backup in place of Larson. The dispatcher informed Larson of this, but Larson responded, “we’ll continue.” The dispatcher responded, “I covered you,” but Larson again said “we’ll continue.”- Seconds later, the dispatcher notified all units that yet another deputy had advised that he, too, was en route to the Jewel Street call to provide backup to the primary responders. Larson and Lon-gen nevertheless decided to proceed in their patrol vehicle, a new Ford F-250 pickup truck that Larson had never driven before his shift that day.
With Larson driving, the deputies departed for Jewel Street with the siren and emergency lights activated. As the deputies approached Highway 65, which was a short distance from the substation, they saw one of the other responding deputies pass. Larson followed the deputy at a distance of one-quarter mile at speeds as high as 95 miles per hour. The posted speed limit on Highway 65, a four-lane *422divided highway, was 65 miles per hour. The road was wet and slushy.
As Larson approached the intersection of Highway 65 and Crosstown Boulevard, he was alerted by a flashing yellow signal located on the roadside two-tenths of a mile before the intersection that the light was about to turn red. Ahead, the other deputy went through the intersection on the green light. Larson slowed to 30-45 miles per hour because he knew the light was about to turn red. However, after seeing no vehicles going through the intersection, Larson sped up as he entered the intersection. Just then, Terrell’s vehicle entered the intersection slowly on the green light from the right, and the two vehicles collided. Larson’s estimated speed at the time of the collision was 60-64’ miles per hour, Terrell died from the injuries sustained in the collision.
Deputy Larson had received training that when a vehicle .operating in an emergency-response mode goes through a red light, it must first slow almost to a stop when entering the intersection, continue to observe opposing traffic, and then proceed through the intersection at no more than 10-20 miles per hour. An Anoka County Sheriffs Department internal affairs investigation concluded that Deputy Larson violated Department policy on emergency response procedures. The investigation concluded Deputy Larson violated the Department’s policy regarding the emergency operation of vehicles because he did not drive with due regard to the safety of all persons, did not carefully weigh the risk inherent in disregarding traffic laws, and did not slow down enough when he ran the red light. The investigation also concluded Larson did not use good judgment in carrying out his duties and had not properly weighed the consequences of his actions. Larson received a thirty-day suspension for his misconduct.
Terrell’s heirs and next of kin brought suit, asserting a denial of Terrell’s right to substantive due process under the Fourteenth Amendment and alleging that the deputies’ actions in this case “were conscience-shocking, and reckless, callous, outrageous and deliberately indifferent to the rights of Talena Terrell.”
Larson and Longen moved for summary judgment, arguing that their actions did not constitute a violation of Terrell’s right to substantive due process and that they were entitled to qualified immunity. The district court denied the motion, reasoning that factual issues concerning whether the deputies had time to deliberate and whether the situation was reasonably regarded as an emergency precluded summary judgment. Larson and Longen now appeal.
II. QUALIFIED IMMUNITY
Larson and Longen’s argument that no constitutional violation has been alleged in this case is actually the first step we must follow in determining whether qualified immunity shields the deputies from liability. Accordingly, our discussion will focus on the applicability of qualified immunity in this case.
The district court denied qualified immunity in this case partially on the ground that there was a question of fact on the issue of whether there was an emergency. The Plaintiffs contend that under Johnson v. Jones, 515 U.S. 304, 115 S.Ct. 2151, 132 L.Ed.2d 238 (1995), this court lacks jurisdiction to review the district court’s ruling. The Plaintiffs are mistaken. The applicability of qualified immunity is a question of law for the court. See Nelson v. County of Wright, 162 F.3d 986, 989 (8th Cir.1998). We are guided by the case of Behrens v. Pelletier, 516 U.S. 299, 116 Sy.Ct. 834, 133 L.Ed.2d 773 (1996). In Behrens, the Supreme Court made clear *423that in determining whether or not there exists qualified immunity in a given case, the district court and this court are to “resolve all factual disputes in favor of the plaintiff and look at the purely legal question of whether the defendant’s alleged conduct violated the plaintiffs clearly established constitutional rights.” See Cunningham, v. City of Wenatchee, 345 F.3d 802, 807 (9th Cir.2003); see also Bingham v. City of Manhattan Beach, 329 F.3d 723, 725 (9th Cir.2003)
Police officers are protected by qualified immunity “insofar as their conduct does not violate clearly established statutory or constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). “Where the defendant seeks qualified immunity, a ruling on that issue should be made early in the proceedings so that the costs and expenses of trial are avoided where the defense is dispositive.” Saucier v. Katz, 533 U.S. 194, 200, 121 S.Ct. 2151, 150 L.Ed.2d 272 (2001). When qualified immunity is raised as a defense in a § 1983 action, we first must consider whether the facts alleged, taken in the light most favorable to the plaintiff, show that the officers’ conduct violated a constitutional right. Id. at 201, 121 S.Ct. 2151; see also County of Sacramento v. Lewis, 523 U.S. 833, 841 n. 5, 118 S.Ct. 1708, 140 L.Ed.2d 1043 (1998). If a constitutional violation can be made out on the facts alleged, we then must ask whether the right was clearly established at the time of the conduct at issue. Lewis, 523 U.S. at 841, n. 5, 118 S.Ct. 1708; Saucier, 533 U.S. at 201, 121 S.Ct. 2151.
A. Constitutional Violation
A violation of the Fourteenth Amendment right to substantive due process may be shown' by conduct that “shocks the conscience.” Lewis, 523 U.S. at 846-47, 118 S.Ct. 1708. As the Supreme Court has recognized, “the measure of what is conscience shocking is no calibrated yard stick.” Id. at 847,118 S.Ct. 1708. The primary question in this appeal is what level of culpability should be required to establish that the actions.of Larson and Longen were conscienceTshocking. At one end of the culpability spectrum is mere negligence, which is never, sufficient to establish a constitutional violation. Id. at 849,118 S.Ct. 1708. At the other end of the spectrum is “conduct intended to injure,” which generally will “rise to the conscience-shocking level.” Id. In between these two extremes is a middle range of culpability known as “deliberate indifference.” Id. at 849-50, 118 S.Ct. 1708. The question of whether conduct falling within this middle range reaches the point of conscience-shocking depends on an “exact analysis of circumstances” in a given case. Id. at 850, 118 S.Ct. 1708. In cases where actual deliberation by an officer is practical, conduct that is deliberately indifferent may shock the conscience. Id. at 851, 118 S.Ct. 1708.
In Lewis, the" Supreme Court addressed the requisite level of fault to be applied in a high-speed automobile chase aimed at apprehending a suspected offender. Id. at 836, 118 S.Ct. 1708. The Supreme Court rejected the Ninth Circuit’s conclusion that deliberate indifference was the appropriate degree of fault to be applied and held that in the context of suspect-pursuit cases “only a purpose to cause harm unrelated to the legitimate object of arrest will satisfy the element of arbitrary conduct shocking to the conscience, necessary for a [substantive] due process violation.” Id. In Helseth v. Burch, 258 F.3d 867 (8th Cir.2001), this court held “that the intent-to-harm standard of Lewis applies to all § 1983 substantive due process claims based upon the conduct of public officials engaged in a *424high-speed automobile chase aimed at apprehending a suspected offender.” Id. at 871.
On appeal, Larson and Longen argue Lewis and Helseth compel application of the intent-to-harm standard. However, Lewis and Helseth did not announce a per se rule that the 'intent-to-harm standard should be applied whenever an officer voluntarily embarks on a high-speed response. To the contrary, the holdings in Lewis and Helseth were specifically directed at high-speed police'pursuits aimed at apprehending a suspected offender.
Applying the principles of Lewis, we conclude this case falls within the middle range of culpability and is best considered using the “deliberate indifference” standard. We hold the facts of this case, viewed in the light most favorable to the Plaintiffs, present a situation where the deputies were “afforded a reasonable opportunity to deliberate various alternatives prior to electing a course of action.” Neal v. St. Louis County Bd. of Police Comm’rs, 217 F.3d 955, 958 (8th Cir.2000); see also Entergy, Ark., Inc. v. Nebraska, 241 F.3d 979, 991 (8th Cir.2001) (recognizing that the conduct of state officials may shock the conscience if their actions were taken with deliberate indifference to a party’s protected rights where the “officials had an opportunity to consider various alternatives”); Wilson, 260 F.3d at 956-57 (holding application of the deliberate indifference/subjective recklessness standard was appropriate where officers, who allegedly coerced a confession from the defendant and failed to investigate other leads, had time to deliberate various alternatives prior to selecting a course of action); Ewolski v. City of Brunswick, 287 F.3d 492, 511 (6th Cir.2002) (applying the deliberate indifference standard to police officers’ conduct during a standoff because the facts presented a situation where actual deliberation was practical). Although under the facts and circumstances of Neal the court held that the deliberate indifference standard did not apply, the court approved application of the standard in situations where officers had the opportunity to deliberate, and we have subsequently applied the standard in cases like Wilson. See also Putnam v. Keller, 332 F.3d 541, 548 (8th Cir.2003) (applying deliberate indifference standard where community college officials had the opportunity to deliberate before deciding what action to take against a faculty member).
Deputies Larson and Longen were at a police substation eating dinner and doing paperwork when they heard the dispatcher’s transmission. Initially, the transmission described a situation that required immediate attention, and Larson’s initial response that he would provide backup was appropriate. However, one minute after Larson’s response and before the deputies were prepared to leave the substation, another deputy said he would assist and told Larson that he could “cancel.” The dispatcher repeated that Larson co.uld cancel his response, but Larson informed the dispatcher he would continue to the call. The dispatcher again told Larson, “I covered you,” but Larson repeated that he would continue. Shortly thereafter, yet another deputy said he would also provide assistance.
All of the communications took place before Larson and Longen left the substation. Before the deputies even reached their patrol vehicle, they knew at least two other deputies were already en route to provide backup for the primary responders. While en route, Larson and Longen saw that another deputy was ahead of them on his way to the call. In our view, these facts support a conclusion that the deputies had time to deliberate whether it *425was necessary to rush towards the scene at speeds reaching 95 miles per hour, going through a red light on a winter night in a full-size pickup truck that Larson was driving for the first time. The facts present a situation where actual deliberation was practical. See Lewis, 523 U.S. at 851, 118 S.Ct. 1708.
The dissent fails to consider Larson’s high-speed approach in light of the governing circumstances of the case. The dissent justifies the officers’ actions based on the domestic disturbance, insisting that this created an emergency to which the officers were responding.2
The dissent fails to mention that the officers created an emergency of their own. Deputy Larson reported that he would respond to a domestic disturbance, even though he was told that other officers were covering the situation. Larson was told to “cancel,” but he decided he would “continue.” By telling him, “I covered you,” the dispatcher had assured Larson that there was no need for him to go to the scene of the disturbance. He nevertheless decided he would go.
Placing Deputy Larson’s high-speed response in an objective light, we conclude any emergency was voluntarily created by Larson himself. There was no necessity as far as Larson was concerned to respond in the manner he did. He had been told to cancel his backup because other officers were responding. His actions were completely voluntary. In resolving the question of qualified immunity for Deputy Larson, there is no question of fact involved because under Plaintiffs’ allegations and evidentiary proof, there was no need for him to embark on an emergency response. Thus, we deem Deputy Larson’s response as entirely voluntary and hold that under such facts, as a matter of law, his conduct must be appraised under the deliberate indifference standard.3
We thus submit there are significant distinctions between the present case and suspect-pursuits cases such as Lewis and Helseth. First, while officers pursuing suspected offenders generally find themselves, when acting in their official duties, in situations which are thrust upon them, see id. at 853, 118 S.Ct. 1708, here Larson *426and Longen made a conscious, voluntary decision to respond to the domestic disturbance call even after they were informed that other deputies were responding and they could cancel. Second, while suspect pursuits require instantaneous decisions and on-the-spot reactions, see id, Larson and Longen were eating dinner and doing paperwork when they received the call and were afforded the opportunity to deliberate their response before leaving the police substation. Finally, officers involved in suspect pursuits may be required to violate traffic laws or risk losing the suspect. In contrast, Larson and Longen were not in danger of losing a suspect or of leaving the primary officers in this case without adequate backup, as they were aware other deputies were on their way to the scene. In view of these distinctions, we conclude Larson and Longen had time to deliberate before taking the actions they did. Furthermore, it should be obvious that the circumstantial needs of this situation were not so exigent that the intent-to-harm standard should apply.
Having concluded that deliberate indifference is the appropriate standard to be applied in this case, we next consider whether the facts of this case are sufficient to show that Larson and Longen acted with deliberate indifference. In this regard, Lewis instructs that we must apply “an exact analysis” of “the totality of facts in a given case.” Id. at 850, 118 S.Ct. 1708. The deliberate indifference standard requires that the defendant know of and disregard a substantial risk of serious harm. See Farmer v. Brennan, 511 U.S. 825, 836-37, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994). We consider the conduct of Larson and Longen separately.
With respect to Deputy Longen, the Plaintiffs have alleged that he failed to intervene to prevent the crash that killed Ms. Terrell. We cannot say, however, that Deputy Longen’s conduct in this case shows deliberate indifference. Deputy Longen was a probationary officer at the time of the crash and was merely riding along with Deputy Larson. The Plaintiffs have alleged no facts showing that Longen had any authority to overrule Larson’s decision to respond to the call or to order Larson to stop at the red light as they approached the intersection. Rather, the facts suggest Longen had no choice but to accompany Larson as he responded to the call. Thus, we conclude Plaintiffs’ allegations concerning Deputy Longen are insufficient to show that his actions in accompanying Larson were taken with deliberate indifference to the rights of Ms. Terrell.
The Plaintiffs’ allegations concerning Deputy Larson, however, are another matter. Despite knowledge that at least two other deputies were on their way to provide backup and that he could cancel, Larson voluntarily decided to respond to the call. It was a December night. The roads were wet and slushy, and Larson was driving an unfamiliar vehicle. As Larson approached the intersection, he recognized that the traffic light was about to turn red, but, instead of stopping, Larson sped through the intersection at an estimated speed of 60-64 miles per hour. Given his training as a deputy sheriff, Larson certainly was aware of the danger to public safety that arises when a police officer decides to violate a traffic light. We believe the facts as alleged show that Larson disregarded the substantial risk of harm attendant to running a red light, especially given the fact that Larson sped up as he entered the intersection instead of proceeding cautiously at a much slower rate of speed.4 In our view, the alleged facts of *427this case, taken in the light most favorable to the Plaintiffs, are sufficient to show that Larson was deliberately indifferent to a substantial risk of harm.
Context is of vital importance in due process analysis. What is considered conscience-shocking in one setting may fall short of that standard in another context. See Lewis, 523 U.S. at 850, 118 S.Ct. 1708. Lewis mandates an exact analysis of the totality of facts in a given case “before any abuse of power is condemned as conscience shocking.” Id. We have applied such an analysis here and conclude that, under the particular facts presented, Larson’s actions rise to the level of conscience-shocking. Therefore, we hold that the Plaintiffs have alleged a constitutional violation of Ms. Terrell’s right to substantive due process.
B. Clearly Established Right
We next address whether Larson would nevertheless be entitled to qualified immunity. This inquiry depends on whether the right violated was clearly established as of December 29, 2000, the time of the alleged constitutional violation. See Wilson, 260 F.3d at 951. In order for a right to be clearly established, “[t]he contours of the right must be sufficiently clear that a reasonable official would understand that what he is doing violates that right.” Anderson v. Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d 523 (1987). However, this does not mean that the precise conduct at issue must have been addressed by a court for an officer to reasonably believe his actions are unlawful. See Wilson, 260 F.3d at 951. “Rather, it need only be apparent from pre-existing law that the conduct is unlawful.” Id.; see also Anderson, 483 U.S. at 640, 107 S.Ct. 3034.
The Plaintiffs contend that as of December 29, 2000, the deputies were on notice that they could be held liable for their conduct in responding to a disturbance call. We agree. The Supreme Court’s decision in Lewis established that the deliberate indifference standard would apply in situations, other than suspect pursuits, where actual deliberation is practical. Lewis, 523 U.S. at 851, 118 S.Ct. 1708. Lewis also established that a police officer acting with deliberate indifference could be held liable for his conduct. See id. at 849-50, 118 S.Ct. 1708. Thus, we conclude the law in effect at the time of the collision was clearly established. Accordingly, we hold that Larson was not entitled to summary judgment based on qualified immunity.
III. CONCLUSION
For the reasons set forth in this opinion, we hold that Deputy Larson was not entitled to qualified immunity, and we affirm the district court’s denial of Larson’s and Longen’s motion for summary judgment in this respect. However, we reverse the district court’s denial of the motion for summary judgment with respect to Deputy Longen and remand the case with directions to dismiss the Plaintiffs’ substantive due process claims against Deputy Longen.

. The denial of summary judgment based on qualified immunity is "immediately appeal-able to the extent the appeal seeks review of ... purely legal determinations.” Wilson v. Lawrence County, 260 F.3d 946, 951 (8th Cir.2001).


. The dissent reads:
Deputies Larson and Longen had to decide whether to respond to an emergency domestic disturbance call in which a mother was reportedly locked in a bedroom threatening to harm her young child. Domestic disturbances are “notoriously volatile and unpredictable.” Elwood v. Rice County, 423 N.W.2d 671, 678 (Minn.1988). The police must arrive quickly to quell violence, protect children, and assist anyone who is injured, so responding will inevitably require the same type of high-speed driving as the chase of a fleeing suspect. The number of police officers needed to defuse the situation is rarely known in advance, so the decisions of available officers whether to respond "have to be made in haste, under pressure, and frequently without the luxury of a second chance.” Thiis, like the officer who made a quick decision to give chase in Lewis, Larson and Longen did not have "the luxury ... of having time to make unhurried judgments, upon the chance for repeated reflection, largely uncomplicated by the pulls of competing obligations.” 523 U.S. at 853, 118 S.Ct. 1708.
We totally disagree with the last sentence of the above paragraph in the dissent.


. The cases cited by the dissent involving negligent driving in response to non-emergency situations are distinguishable from the present case. See Rooney v. Watson, 101 F.3d 1378, 1381 (11th Cir.1996), cert. denied, 522 U.S. 966, 118 S.Ct. 412, 139 L.Ed.2d 315 (1997); Hill v. Shobe, 93 F.3d 418, 420-21 (7th Cir.1996); Leddy v. Township of Lower Merion, 114 F.Supp.2d 372, 376 (E.D.Pa.2000). Those cases contained no facts from which the court could conclude that the deliberate indifference standard applied or that the officers’ actions were taken with deliberate indifference.


. We note that Minnesota Statutes § 169.03 requires drivers of emergency vehicles who *427are responding to an emergency call to slow down as necessary for safety and proceed cautiously through red lights or stop signs after sounding the emergency siren and displaying red lights. Minn.Stat. § 169.03, Subd. 2. Larson had received training concerning these requirements, but nonetheless proceeded through the intersection at a speed nearing the posted speed limit on Highway 65.

